                    Case 2:98-cr-00006-AAA-JEG Document 108 Filed 09/20/05 Page 1 of 3
AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations
         Sheet I

                                                                                                                                   FILED
                                                                                                                             0 S . 1ST. COURT
                                      United States District Cour t                                                           BRUKSWLGK DIV .
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                         BRUNSWICK DIVISION                                                715 SEP 20 A q : t '
          UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL rt
                                                          CASE
                                                             psr.
                                V.            (For Revocation of Probation or Superv' Rlease;




                   Telly Riley                                                          Case Number :           CR298-00006-002
                                                                                        USM Number:             09718-02 1

                                                                                        Dale Jenkins
                                                                                        Defendant's Attorne y
THE DEFENDANT :
[X] admitted guilt to violation of mandatory conditions of the term of supervision .
[ ] was found in violation of condition(s) _ after denial of guilt .

The defendant is adjudicated guilty of these violations :

  Violation Number Nature of Violation Violation Ende d
            1 The defendant committed another Federal, state, or local crime November 23, 2003
                      (mandatory condition) .
                                                        See page 2 for additional violations .


        The defendant is sentenced as provided in pages 2 through 3 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .


           The defendant has not violated condition ( s) and is discharged as to such violation( s) condition.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
 to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .


 Defendant's Soc . Sec . No :

 Defendant's Date of Birth :                                                                     September 19, 200 5
                                                                                                 Date of Imposition of Judgmen t



 Defendant's Residence Address :
                                                                                                 Signature of Jud



                         I                                                                       Judge, U .S . District Court
 Defendant' s Mailing Address :
                                                                                                 Name and Title of Judge


                                                                                                 Date
                     Case 2:98-cr-00006-AAA-JEG Document 108 Filed 09/20/05 Page 2 of 3
Ab 2450 (Rev 12 / 03) Judgment in a Criminal Case for Revocations :                  Judgment-Page 2 of 3

         Sheet 1 A

DEFENDANT : Telly Rile y
CASE NUMBER : CR298-00006-002
                                                        ADDITIONAL VIOLATION S

                                                                                    Violation
 !Violation Number          Nature of Violation                                      Ende d


            2 The defendant possessed a firearm or other destructive device November 23, 2003
                   (mandatory condition) .
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AO 245D ( Rev 12/03) Judgment in a Cri minal Case for Revocations:                                      Judgment-Page 3 of 3
       S h eet 2 . - Imprisonmen t


DEFENDANT : Telly Riley
  ASE NUMBER : CR298-00006-002
                                                                 IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          fora total term of. 24 months .

          The Court makes the following recommendations to the Bureau of Prisons :


          The defendant is remanded to the custody of the United States Marshal .
          The defendant shall surrender to the United States Marshal for this district ,

          [ ] at _ [ ]a.m . [ ] p .m. on
           [ ] as notified by the United States Marshal .


          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :


           [ ] before 2 p.m. o n
          [ ] as notified by the United States Marshal .
          [ ] as notified by the Probation or Pretrial Services Office .

                                                                     RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
at with a certified copy of this judgment .




                                                                                           United States Marshal


                                                                                By
                                                                                      Deputy United States Marshal
